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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

                                              )
 IN RE EX PARTE APPLICATION OF                )
 C5 CAPITAL LIMITED AND ANDRÉ                 )
 PIENAAR FOR AN ORDER                         )      Civil Action No. 24-mc-00045-LKG
 PURSUANT TO 28 U.S.C. § 1782                 )
 GRANTING LEAVING TO OBTAIN                   )      Dated: December 2, 2024
 DISCOVERY FOR USE IN FOREIGN                 )
 PROCEEDINGS.                                 )
                                              )

                         MEMORANDUM OPINION AND ORDER
       This civil action involved two subpoenas (the “Subpoenas”) issued by C5 Capital Limited
and André Pienaar (the “Applicants”) to RosettiStarr, LLC (the “Respondent”), pursuant to 28
U.S.C. § 1782. ECF No. 14. After the Respondent moved to quash the Subpoenas, the Court
issued a memorandum opinion and order granting-in-part the Respondent’s motion (the
“September 5, 2024, Decision”). ECF No. 21. The Respondent has moved for reconsideration
of the September 5, 2024, Decision, pursuant to Fed. R. Civ. P. 59(e). ECF No. 23. This motion
is fully briefed. ECF Nos. 23, 24, 25. No hearing is necessary to resolve the motion. See L.R.
105.6 (D. Md. 2023). For the reasons that follow, the Court DENIES the Respondent’s motion
for reconsideration.

                                     Factual Background

       This civil action involved two subpoenas issued by the Applicants to the Respondent,
pursuant to 28 U.S.C. § 1782. ECF No. 14. Relevant to the pending motion for reconsideration,
the Applicants seek to obtain certain discovery from the Respondent that they believe will show
either that a former employee of C5 Capital Limited, Daniel Freeman, made false and
defamatory statements about the Applicants to the Respondent, or reveal the identity of the
person who made these statements. ECF No. 1-4 at 7. In this regard, the Applicants allege that
Mr. Freeman misused the confidential business information of C5 Capital Limited and that the
Respondent created and helped circulate a PowerPoint presentation, and a summary of interview
notes, that contain false and defamatory statements about C5 Capital Limited. Id. at 6.
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       The Applicants represent to the Court that they “intend to shortly initiate litigation”
against Mr. Freeman. Id. at 7. And so, on April 4, 2024, the Court issued an Order permitting
the Applicants to issue the Subpoenas to the Respondent. ECF No. 13.
       After the Respondents moved to quash the Subpoenas, the Court issued a memorandum
opinion and order on September 5, 2024, that granted-in-part the Respondent’s motion. ECF No.
21. In the September 5, 2024, Decision, the Court held that: (1) the Applicants had shown that
the discovery sought is for use in a reasonably contemplated, non-speculative foreign
proceeding, as required by 28 U.S.C. § 1782; but (2) the Subpoenas were overly broad to the
extent that they sought documents and testimony covering a period of almost a decade. Id. at 6.
In this regard, the Court held that the Applicants satisfied the requirements of Section 1782,
because the Applicants: (1) stated that they intend to file a lawsuit against Mr. Freeman in the
United Kingdom and to assert claims against him for breach of contract; (2) stated that they have
retained a solicitor and solicitor advocate of the courts of England and Wales to assist with this
litigation; and (3) provided the Court with a substantive outline of the factual bases and legal
theories that will underpin their case against Mr. Freeman. Id. at 7.
       Relevant to the pending motion, in a footnote contained in the September 5, 2024,
Decision, the Court stated that: “The Applicants assert that a review of the . . . metadata [of the
PowerPoint presentation that allegedly contains false and defamatory statements about C5
Capital Limited] by their lawyers shows that the presentation was created by the Respondent.”
Id. at 2 n.2. But the Applicants had previously acknowledged that the Respondent “is not named
in the [PowerPoint] Presentation’s metadata.” 1 ECF No. 20 at 1. And so, the parties agree that
the statement that links the Respondents to the PowerPoint presentation via metadata in the
Court’s September 5, 2024, Decision is incorrect. ECF No. 23-1 at 3; ECF No. 24 at 3.
       Lastly, the Court held in the September 5, 2024, Decision, that the relevant time period
for the Applicants’ claims appears to be between May 2021, and September 2022. ECF No. 21


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 On August 5, 2024, the Applicants filed a notice regarding related case regarding the deposition of
Philip O’Beirne, an attorney with the law firm Stein Mitchell Beato & Missner, LLP. ECF No. 17; see
ECF No. 20 at 6-17. On August 13, 2024, the Respondent filed a response to this notice and provided
excerpts from Mr. O’Beirne’s deposition to show that metadata did not link the Respondent to the
PowerPoint presentation. ECF No. 19. On August 14, 2024, the Applicants filed a reply in which they
acknowledge that the Respondent “is not named in the [PowerPoint] Presentation’s metadata.” ECF No.
20 at 1.



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at 9. Given this, the Court limited the scope of the Subpoenas to the time period between May
17, 2021, and May 17, 2023. Id. at 8-9. And so, the Court granted-in-part the Respondent’s
motion to quash. Id. at 9.

       On September 19, 2024, the Respondent moved for reconsideration of the Court’s
September 5, 2024, Decision. ECF No. 23.

                                         Legal Standards

       A. Rule 59(e)
       A party may move to alter or amend a judgment under Federal Rule of Civil Procedure
59(e). See Fed. R. Civ. P. 59. Pursuant to Rule 59(e), a party may move to alter or amend the
Court’s judgment within 28 days of entry. Fed. R. Civ. P. 59(e). But a judgment may be
amended under Rule 59(e) in only three circumstances, namely: (1) to accommodate an
intervening change in controlling law; (2) to account for new evidence not available at trial; or
(3) to correct a clear error of law or prevent manifest injustice. Zinkand v. Brown, 478 F.3d 634,
637 (4th Cir. 2007) (citing Ingle v. Yelton, 439 F.3d 191, 197 (4th Cir. 2006)) (internal
quotations omitted).

                                             Analysis
       The Respondent seeks reconsideration of the Court’s September 5, 2024, Decision upon
the ground that “[t]he Court’s reliance on undisputedly incorrect information that is central to the
heart of the [application for the Subpoenas] renders reconsideration appropriate in this case.”
ECF No. 23-1 at 4. Specifically, the Respondent argues that reconsideration is warranted,
because the September 5, 2024, Decision “rests on the incorrect premise that there is some
factual link between RosettiStarr and the alleged defamatory materials underlying the
[application for the Subpoenas].” Id. at 3. And so, the Respondent requests that the Court
reconsider the September 5, 2024, Decision and grant its motion to quash in full. Id. at 4.

       For the reasons set forth below, the Court DENIES the Respondent’s motion for
reconsideration.

       The Respondent has not met its burden to show that reconsideration of the Court’s
September 5, 2024, Decision is warranted. A judgment may be amended pursuant to Rule 59(e):
(1) to accommodate an intervening change in controlling law; (2) to account for new evidence



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not available at trial; or (3) to correct a clear error of law or prevent manifest injustice. Zinkand
v. Brown, 478 F.3d 634, 637 (4th Cir. 2007) (citing Ingle v. Yelton, 439 F.3d 191, 197 (4th Cir.
2006)) (internal quotations omitted). In this regard, the Fourth Circuit has held that the Court
may grant relief under Rule 59(e) to correct manifest errors of fact upon which the judgment is
based. Small v. Hunt, 98 F.3d 789, 797 (4th Cir. 1996).
       In this case, the Respondent seeks reconsideration of the September 5, 2024, Decision,
because the Court incorrectly stated in a footnote in that decision that “[t]he Applicants assert
that a review of the . . . metadata [of the PowerPoint presentation that allegedly contains false
and defamatory statements about C5 Capital Limited] by their lawyers shows that the
presentation was created by the Respondent.” ECF No. 23-1 at 3. The parties agree that the
statement that metadata links the Respondent to the PowerPoint is not correct. Id.; ECF No. 24
at 3. But, the Court’s error in this regard was harmless and does not merit reconsideration of the
September 5, 2024, Decision for several reasons.
       First, a careful reading of the September 5, 2024, Decision makes clear that the Court’s
single reference to metadata linking the Respondent to the PowerPoint presentation at issue in
this case did not impact the Court’s reasoning in granting-in-part the Respondent’s motion to
quash. See ECF No. 21 at 7 (holding that the Applicants satisfied the requirements of Section
1782, because the Applicants: (1) stated that they intend to file a lawsuit against Mr. Freeman in
the United Kingdom and to assert claims against him for breach of contract; (2) stated that they
have retained a solicitor and solicitor advocate of the courts of England and Wales to assist with
this litigation; and (3) provided the Court with a substantive outline of the factual bases and legal
theories that will underpin their case against Mr. Freeman.). Rather, the Court held in the
September 5, 2024 Decision, that quashing the Subpoenas was not warranted, because the
Applicants have shown that the discovery sought in this case is for use in a reasonably
contemplated, non-speculative foreign proceeding, as required by 28 U.S.C. § 1782. Id. at 7-8.
And so, the Court permitted the Applicants to conduct the discovery that they seek from the
Respondent. Id. at 9.
       Second, the Court observes that there is a dispute in this case about whether there is other
evidence that connects the Respondent to the PowerPoint presentation, or to the other alleged
defamatory statements about the Applicants at issue in this case. ECF No. 24 at 3-4; ECF No. 25
at 1-2. Given this, the Respondent’s argument that the Court should quash the Subpoenas,



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because “the Applicants have no evidence connecting [the Respondent] to the alleged
defamatory materials” at issue in this case, is both unpersuasive and an argument that the Court
has previously considered and rejected. ECF No. 25 at 2; see ECF No. 21 at 6-8.

       For these reasons, the Respondent has not raised a proper ground for reconsideration
under Rule 59(e) in its motion for reconsideration. See Zinkand v. Brown, 478 F.3d 634, 637
(4th Cir. 2007) (citing Ingle v. Yelton, 439 F.3d 191, 197 (4th Cir. 2006)) (internal quotations
omitted) (holding that a judgment may be amended pursuant to Rule 59(e): (1) to accommodate
an intervening change in controlling law; (2) to account for new evidence not available at trial; or
(3) to correct a clear error of law or prevent manifest injustice). And so, the Court DENIES the
Respondent’s motion for reconsideration.

                                            Conclusion

       For the foregoing reasons, the Court DENIES the Respondent’s motion for
reconsideration (ECF No. 23).



        IT IS SO ORDERED.



                                                  s/ Lydia Kay Griggsby
                                                  LYDIA KAY GRIGGSBY
                                                  United States District Judge




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